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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                            CASE NO. 19-20437-CIV-COOKE/GOODMAN

 TROPICAL PARADISE RESORTS, LLC,
 D/B/A ROADWAY INN & SUITES

        Plaintiff,
 vs.

 ROCKHILL INSURANCE COMPANY

        Defendant.
                                               /

          DEFENDANT’S STATEMENT OF UNDISPUTED MATERIAL FACTS IN
          SUPPORT OF DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

          Defendant, ROCKHILL INSURANCE COMPANY (“ROCKHILL”), by and through the

  undersigned counsel and pursuant to F.R.C.P. 56, moves this Court for the entry of Final

  Judgment against Plaintiff, TROPICAL PARADISE RESORTS, LLC, d/b/a ROADWAY INN

  & SUITES (“TPR”), and in support states:

          1.         The property of TPR is located at 2440 W State Road 84, Fort Lauderdale,

  Florida, 33312, in Broward County.               ROCKHILL issued a new Policy Number

  RCPPRU000245-00 to TPR for the policy period April 30, 2017 to April 30, 2018. The

  Declarations Page of the Rockhill Policy lists the all-risk coverage provided under the policy and

  the Schedule of Property Endorsements expressly lists "Causes of Loss - Special Form CP 10 30

  (06/07) and Business Income (And Extra Expense) Coverage Form CP 00 30 (06/07)." DE1,

  #1.

          The relevant provisions of the ROCKHILL Commercial Property Policy are:




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             BUILDING AND PERSONAL PROPERTY COVERAGE FORM…

        A.    Coverage
              We will pay for direct physical loss of or damage to Covered Property at the premises
              described in the Declarations caused by or resulting from any Covered Cause of Loss.

              1.       Covered Property

                       Covered Property, as used in this Coverage Part, means the type of property
                       described in this section, A.1., and limited in A.2., Property Not Covered, if a
                       Limit of Insurance is shown in the Declarations for that type of property…

                                                   ****

                   CAUSES OF LOSS- SPECIAL FORM CP 10 30 (06/07)

        B.    Exclusions

              1.       We will not pay for loss or damage caused directly or indirectly by any of
                       the following. Such loss or damages excluded regardless of any other cause or
              events that contributes concurrently or any sequence to the  loss "…
              g.       Water
              (1) Flood, surface water, waves (including tidal wave and tsunami), tides, tidal water,
                  overflow of any body of water, or spray from any of these, all whether or not driven
                  by wind (including storm surge);
              (2) Mudslide or mudflow;
              (3) Water that backs up or overflows or is otherwise discharged from a sewer, drain,
                  sump, sump pump or related equipment;
              (4) Water under the ground surface pressing on, or flowing or seeping through:
                  (a) Foundations, walls, floors or paved surfaces;
                  (b) Basements, whether paved or not; or
                  (c) Doors, windows or other openings; or
              (5) Waterborne material carried or otherwise moved by any of the water referred to in
                  Paragraph (1), (3) or (4), or material carried or otherwise moved by mudslide or
                  mudflow.

              2.      We will not pay for loss or damage caused by or resulting from any of the
              following:
                      d.      (1)      Wear and tear…
                              (2)      Rust or other corrosion, decay, deterioration, hidden or
                                       latent defect or any quality in property that causes it to
                                       damage or destroy itself; …

              3.       We will not pay for loss or damage caused by or resulting from any of the
                       following, 3.a. through 3.c. But if an excluded cause of loss that is listed in 3.a.
                       through 3.c. results in a Covered Cause of Loss, we will pay for the loss or
                       damage caused by that Covered Cause of Loss.


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                        a.        Weather conditions. But this exclusion only applies of weather
                                  conditions contribute in any way with a cause or event excluded
                                  in Paragraph 1. above to produce the loss or damage.



        C.      Limitations
                The following limitations apply to all policy forms and endorsements, unless otherwise
                stated.

                1.      We will not pay for loss of or damage to property, as described and limited in
                        this section. In addition, we will not pay for any loss that is a consequence of
                        loss or damage as described and limited in this section…

                        c.        The interior of any building or structure, or to personal property in the
                                  building or structure, caused by or resulting from rain, snow, sleet, ice,
                                  sand or dust, whether driven by wind or not, unless:

                                  (1)      The building or structure first sustains damage by a Covered
                                           Cause of Loss to its roof or walls through which the rain,
                                           snow, sleet, ice, sand or dust enters; …

             BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM CP 00 30 06 07

        A.      Coverage

        1.      Business Income…

                We will pay for the actual loss of Business Income you sustain due to the necessary
                “suspension” of your “operations” during the “period of restoration”. The “suspension”
                must be caused by direct physical loss of or damage to property at premises which are
                described in the Declarations and for which a Business Income Limit Of Insurance is
                shown in the Declarations. The loss or damage must be caused by or result from a
                Covered Cause of Loss. With respect to loss of or damage to personal property in the
                open or personal property in a vehicle, the described premises include the area within 100
                feet of the site at which the described premises are located…. DE1, #1

        E.      Loss Conditions

                The following conditions apply in addition to the Common Policy Conditions and the
                Commercial Property Conditions.

                3.      Duties In the Event Of Loss Or Damage

                        a.        You must see that the following are done in the event of loss or damage
                                  to Covered Property:
                                  ...

                                  (4)      Take all reasonable steps to protect the Covered Property from
                                           further damage, and keep a record of your expenses necessary
                                           to protect the Covered Property, for consideration in the
                                           settlement of the claim. This will not increase the Limit of
                                           Insurance. However, we will not pay for any subsequent loss
                                           or damage resulting from a cause of loss that is not a Covered
                                           Cause of Loss. Also, if feasible, set the damaged property
                                           aside and in the best possible order for examination.


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                                                      ****
                                       Pre-Existing Damage Endorsement

         It is understood and agreed that this policy shall exclude any loss or damage directly or indirectly
         caused by, resulting from or contributed to by any pre-existing building damage at the time of the
         loss …

                                                      ****

         On September 10, 2017, Hurricane Irma hit Broward County, Florida. On September 14,

  2017, TPR filed a Property Loss Notice alleging that its property, the Roadway Inn, had

  sustained damages from Hurricane Irma. ROCKHILL immediately commenced its assessment

  of the reported loss, including sending an independent adjuster to inspect the property.

         The initial inspection indicated no known or visible damage to the roof or siding, but

  substantial interior ceiling, floor, and wall damages, water which had come under exterior doors

  and flooded rooms, and water that had come down through the upper floor to the unit below.

         As part of the carrier’s continuing investigation, it hired Engle Martin & Associates on

  September 15, 2017. ROCKHILL acknowledged TPR’s Claim of Loss on September 19, 2017.

  Engle completed their inspection on September 20, 2017. They in turn hired Envista Forensics

  engineer, Michael L. Brown, P.E., to do a detailed inspection of the five buildings involved in

  the claim damages.

         Mr. Brown did his inspection on January 5, 2018 and arrived at the following

  conclusions: (1) The buildings' (Buildings 1 through 5) roof coverings were not damaged by

  wind or wind-borne debris during Hurricane Irma. (2) Water infiltrated the upper rooms in the

  buildings through pre-existing openings caused by long-term deterioration of the roof covering

  and through doors and windows due to deteriorated sealant and/or omitted weather stripping. (3)

  The water intrusion at the lower rooms resulted from openings associated with long-term

  deterioration of the hollow-core slabs and sealants around the perimeter of the handrails. Exhibit

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  “A”.   The support for the findings appeared in Pages 3 to 6 of the Report; along with

  photographs showing the openings and areas that allowed water intrusion due to wind-driven

  rain. Id.

         After the insurance company completed its investigation, it denied the Plaintiff's claim in

  the Declination Letter of May 4, 2018; as there was no direct physical wind damage from the

  hurricane and all the alleged damages to the hotel complex were from pre-existing deterioration,

  DE1, #2.

         This letter explained that it was determined that wind-driven rain entered the building

  through pre-existing roof, door, and window openings caused by long-term deterioration. Id.

  Surface rainwater entered the building through deteriorated doors and hand-railings. Id. In

  addition, while there was a claim for over thirty (30) air conditioning units that were allegedly

  damaged by a power surge, those units had been replaced prior to the carrier being able to

  inspect them and ROCKHILL was unable to determine the cause of loss. Id. The letter went on

  to note that the language from the policy form applied to the facts of the insured's claim and

  consequently the carrier could not provide coverage to TPR for the claim. Id.

         On December 21, 2018, TPR filed a Complaint against ROCKHILL, asserting in Count I,

  a Petition for Declaratory Relief; Count II for Breach of Insurance Contract and Count III for

  Fraud in the Inducement. DE1.

         On April 29, 2019, TPR filed a Civil Remedy Notice against ROCKHILL for failure to

  perform under the contract, by failing to properly investigate, adjust, settle, and pay the insured's

  claim. Exhibit “B”.




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                                     Respectfully submitted,


                                     By: /s/ Karl E. Sturge_______________
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 22, 2019, I electronically filed the foregoing

  document with the Clerk of Court using CM/ECF. I also certify that the forgoing document is

  being served this day on all counsel of record or pro se parties identified on the attached Service

  List in the manner specified, either via transmission of Notice of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

  to receive electronically Notice of Electronic Filing.


                                                    Respectfully submitted,

                                                    By: /s/ Karl E. Sturge_____________
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                                      SERVICE LIST


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